                   Case 5:09-cv-01228-WPJ Document 10 Filed 11/25/09 Page 1 of 7




                             IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF OKLAHOMA

       ELGIN FAMILY COMPANY, L.L.C.,            )
                                                )
                        Plaintiff,              )
                                                )
       v.                                       )
                                                  Case No. CIV-09-1228-HE
       PARALOGIA            ULTRA       LOUNGE, )
       L.L.C.,                                  )
                                                )
                        Defendant.              )
                                                )

                PLAINTIFF’S APPLICATION FOR PRELIMINARY INJUNCTION WITH
                       BRIEF IN SUPPORT (AND REQUEST FOR HEARING)
                  Elgin Family Company, L.L.C. (“EFC”) moves, pursuant to Fed. R. Civ. P. 65, for

       a preliminary injunction enjoining Paralogia Ultra Lounge, L.L.C. (“Paralogia”) from

       creating a noise nuisance that interferes with EFC’s use and enjoyment of its property and

       from violating Oklahoma City noise ordinances.

                                             INTRODUCTION

                  Paralogia is purportedly a “wine and martini lounge” located at The Centennial on

       the Canal, a mixed use facility located in Bricktown with restaurants, bars, and retail

       shops on the first floor and residential properties on the second, third, and fourth floors.

       EFC owns one of the residential properties.

                  While Paralogia claims to have “Fine Dining with a Touch of Nightlife

       Sophistication” and to be the only “upscale lounge in Bricktown,” the reality is quite

       different. Paralogia’s latest “crazy” party – last week’s “Moulin Rouge” blowout event –

       gave free admission to anyone who came dressed in “sexy underwear” (and Paralogia

       said revelers would be “greatly ashamed” if they wore regular clothing). Paralogia billed

       this party as a “Night of Mayhem” that would be “talked about for years.” Clearly, as


5120720_1.DOC
         Case 5:09-cv-01228-WPJ Document 10 Filed 11/25/09 Page 2 of 7




demonstrated by the promotional poster below, this most recent party was neither upscale

nor sophisticated.




       This is par for the course. Paralogia regularly tells its patrons to “get their asses

out” so that they can take “body shots” off club models Paige and Tisha (instructing
customers to “come make these girls wet”) and drink free “jello shots” and “trash can

punch,” while getting the opportunity to meet folks like the “Dallas Desire” - “Hott Girls

in Lingerie that Play Football.” On most weekday nights, Paralogia offers astoundingly

loud guest DJs who promise – and deliver -- “heart pounding breakbeats.”

       There is nothing inherently illegal in these activities. However, the excessive

noise Paralogia generates – very intentionally – is not legal. The evidence at trial will

show that Paralogia regularly and routinely violates applicable Oklahoma City noise

ordinances.    Like seemingly countless preceding nights, music and other noises

                                          2
         Case 5:09-cv-01228-WPJ Document 10 Filed 11/25/09 Page 3 of 7




emanating from Paralogia during the “Moulin Rouge” mayhem caused vibrations that

could be felt and heard into the wee hours of the morning in EFC’s property. Pictures

trembled on the walls, windows shook in their frames, and the glasses in the kitchen

cabinet vibrated with the thumping beat from the music below.

       The filing of this lawsuit has not stemmed the tide of noise. Nothing but a Court

order will stop Paralogia from wantonly and continually interfering with EFC’s quiet

enjoyment of its property. Until an injunction is entered, EFC will continue to suffer

irreparable harm and will continue to be unable to rightfully enjoy its property.
                          ARGUMENTS AND AUTHORITIES

I.     THE COURT SHOULD ISSUE A PRELIMINARY INJUNCTION.

       Rule 65 of the Federal Rules of Civil Procedure governs the issuance of
injunctions. The prevailing preliminary injunction standard includes an analysis of the

following four factors:
              (A)    the movant will suffer irreparable injury unless the
                     injunction issues;

              (B)    the threatened injury outweighs whatever damage the
                     proposed injunction may cause the opposing party;

              (C)    the injunction would not be adverse to the public
                     interest; and

              (D)    the movant has a substantial likelihood of success on
                     the merits.

Heideman v. South Salt Lake City, 348 F.3d 1182, 1188 (10th Cir. 2003); see also

Greater Yellowstone Coalition v. Flowers, 321 F.3d 1250, 1255 (10th Cir. 2003);

Country Kids ‘N City Slickers, Inc. v. Sheen, 77 F.3d 1280 (10th Cir. 1996).




                                           3
         Case 5:09-cv-01228-WPJ Document 10 Filed 11/25/09 Page 4 of 7




       A.     EFC Will Suffer Irreparable Harm Unless the Injunction is Issued.

       EFC’s comfort, repose, enjoyment and use of its property are being continually

infringed by the noise nuisance created by Paralogia. The thudding music from Paralogia

shakes the windows of Condominium 209 and causes pictures to vibrate on the wall and

glasses to vibrate in the kitchen cabinets. Sleeping is nearly impossible while the music

plays and Condominium 209 shakes along to the beat. Paralogia’s schedule of nightly

events makes it certain that there will be no relief from the ever-intruding noise.

       A plaintiff fulfills the irreparable harm requirement for a preliminary injunction by
demonstrating “a significant risk that he or she will experience harm that cannot be

compensated after the fact by monetary damages.” RoDa Drilling Co. v. Siegal, 552 F.3d

1203, 1210 (10th Cir. 2009). Irreparable harm also may be found to exist where it is

impossible to precisely calculate the amount of damage plaintiff will suffer. Southwest

Stainless, LP v. Sappington, 582 F.3d 1176, 1191 (10th Cir. 2009).

       The amount of damages that have been and are being incurred by EFC cannot be

calculated with any degree of certainty. Without injunctive relief, EFC has no way to

protect the quiet enjoyment of its property and is unlikely to be able to sell Condominium

209. If Paralogia is allowed to continue to operate in its present manner, EFC will continue

to suffer the irreparable harm of not being able to sell Condominium 209. In the meantime,

EFC cannot enjoy Condominium 209 without being disturbed and distressed. Money will

not adequately compensate for these injuries.
       B.     The Threatened Injury Outweighs any Damage That Will be Caused
              to Paralogia if the Injunction is Issued.

       Paralogia has no legal right to operate its “wine bar and martini lounge” in

violation of applicable law and with utter disregard for the rights of neighboring property

owners. Requiring Paralogia to obey the law causes them no legally cognizable harm.


                                           4
          Case 5:09-cv-01228-WPJ Document 10 Filed 11/25/09 Page 5 of 7




Fahr v. State ex. rel. Adams, 237 P.2d 128, 130 (Okla. 1958) (“It is difficult to see how

[defendants] are hurt by this injunction, as all it does is order them to obey the law.”)

         C.     The Injunction Will Not Be Adverse to the Public Interest.

         In considering the public interest, “the court is permitted to inquire whether there

are policy considerations that bear on whether an injunction should issue.” Crowe &

Dunlevy, P.C. v. Stidham, 609 F.Supp.2d 1211, 1224 (N.D. Okla. 2009).               Allowing

Paralogia to continually violate City noise ordinances and disregard the rights of

adjoining property owners would be against the public interest. Thus, the public interest
will be served by issuance of the preliminary injunction.

         D.     EFC is Likely to Succeed on the Merits of the Action.

         In this case, all three “harm factors” are decidedly in EFC’s favor. Thus, although
EFC can meet the normal standard of showing it is likely to succeed on the merits, all

EFC actually needs to show is that “questions going to the merits are so serious,

substantial, difficult, and doubtful as to make the issue ripe for litigation and deserving of

more deliberate investigation.” Koerpel v. Heckler, 797 F.2d 858, 866-867 (10t Cir.

1986).

         While there is apparently no Oklahoma case specifically on point, numerous other
jurisdictions have held that excessive noise from bars or clubs is a nuisance which should

be enjoined. See, e.g., Anne Arundel County Fish & Game Conserv. Assoc., Inc. v.

Carlucci, 573 A.2d 847, 852-853 (Md. Ct. App. 1990)(granting injunction and requiring

defendant to implement a noise abatement system within six months and limit its hours

where defendant’s property created noise in excess of existing statutory regulations.);

Scott v. LeCompte, 260 So.2d 345 (La. Ct. App. 1972)(finding loud noises, fights,

offensive language, and increased traffic resulting from night club were annoying



                                            5
         Case 5:09-cv-01228-WPJ Document 10 Filed 11/25/09 Page 6 of 7




circumstances warranting a grant of injunction prohibiting night club owner from

operating night club in such a manner as to constitute annoyance or nuisance that

prevented enjoyment by other owners in subdivision of their property.); Barrett v. Lopez,

262 P.2d 981, 983 (N.M. 1953) (remanding case to trial court to enjoin defendant from

conducting his dance club in such a manner that annoyed, harassed, and offended

plaintiffs); Asmann v, Masters, 98 P.2d 419, 422 (Kan. 1940) (enjoining dance hall from

making excessive noise from jazz orchestra, nickelodeon, and megaphone because “every

citizen, in the exercise of his individual rights in the use of his property, is limited to such
use as will not interfere with the reasonable rights of others in the enjoyment of their

property.”); Meadowbrook Swimming Club, Inc. v. Albert, 197 A. 146, 148 (Md. Ct. App.

1938) (finding “that noise alone, if it be of such a character as to be productive of actual

physical discomfort and annoyance to persons of ordinary sensibilities, may create a

nuisance, and be the subject of injunction, though such noise may result from the carrying

on of a trade or business in a town or city.”).

       At the hearing on this motion, EFC will present more than sufficient evidence to

show that there is a legitimate, serious question that a public and private nuisance exists.

This alone is sufficient to satisfy this fourth factor.

                                       CONCLUSION

       Based on the foregoing arguments and authorities, EFC requests that the Court: (1)

set a formal evidentiary hearing on this motion; and (2) after such hearing, enter a

preliminary injunction enjoining, restraining and prohibiting Paralogia from creating

excessive, intense, annoying noise nuisances or violating applicable noise ordinances

until a final judgment is entered in this case.




                                             6
         Case 5:09-cv-01228-WPJ Document 10 Filed 11/25/09 Page 7 of 7




                                          Respectfully submitted,


                                          /s/ James R. Webb
                                          James R. Webb, OBA No. 16548
                                          Kristin M. Simpsen, OBA No. 22302
                                          McAFEE & TAFT A Professional Corporation
                                          Tenth Floor, Two Leadership Square
                                          211 North Robinson Avenue
                                          Oklahoma City, Oklahoma 73102-7101
                                          (405) 235-9621 (telephone)
                                          (405) 235-0439 (facsimile)
                                          james.webb@mcafeetaft.com
                                          kristin.simpsen@mcafeetaft.com


                                          ATTORNEYS FOR THE PLAINTIFF



                            CERTIFICATE OF SERVICE

       I hereby certify that on November 25th, 2009, I electronically transmitted the

attached document to the Clerk of Court using the ECF System for filing and transmittal

of a Notice of Electronic Filing to the following ECF registrants:

      Michael S. Homsey
      P.O. Box 718
      719 N. Shartel
      Oklahoma City, OK 73101-0718

      ATTORNEY FOR DEFENDANT



                                          /s/ James R. Webb




                                          7
